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10                     UNITED STATES DISTRICT COURT
11                    CENTRAL DISTRICT OF CALIFORNIA
                                   ******
12
      UNITED STATES OF AMERICA, )
13                                   )
14                   Plaintiff,      )
                                     )  CASE NO. 2:24-CR-00091-ODW
15
      v.                             )
16                                   )
17    ALEXANDER SMIRNOV,             )  DATE OF HEARING:
18
                                     )  February 26, 2024
                                     )  TIME OF HEARING: 9:00 a.m.
19
                     Defendant,      )
20    _______________________________)
21
        DEFENDANT’S OPPOSITION TO GOVERNMENT’S “APPLICATION
22
            FOR REVIEW OF MAGISTRATE JUDGE'S BAIL ORDER”
23

24          COMES NOW, Defendant, ALEXANDER SMIRNOV (“Mr. Smirnov”), by
25    and through his attorneys, DAVID Z. CHESNOFF, ESQ., and RICHARD A.
26
      SCHONFELD, ESQ., of the law firm of CHESNOFF & SCHONFELD and hereby
27

28
                                            1
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1     move this Honorable Court to follow both 1) the guidance of the Pretrial Services
2
      Office in Las Vegas, Nevada, and 2) the ruling and guidance of the Honorable
3

4     Magistrate Judge Daniel J. Albregts, and deny the government’s application for
5     pretrial detention. See Gov. App. (ECF No. 11) (Feb. 21, 2024).
6
            This Opposition is made and based upon the attached Memorandum of Points
7

8     and Authorities; the transcript of the detention hearing before the Magistrate Judge
9     Albregts (Feb. 20, 2024) (attached as Exhibit 1) (“Tr.”); the argument of counsel;
10
      and any other such evidence as may be presented at the time of hearing on the
11

12    government’s application.
13          This opposition is timely.
14
            Dated this 23rd day of February, 2024.
15

16                                           Respectfully Submitted:
17
                                             CHESNOFF & SCHONFELD
18

19                                               /s/    Richard A. Schonfeld
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28
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1                  MEMORANDUM OF POINTS AND AUTHORITIES
2
      A.    Background, Procedural History, and the Pretrial                       Services’
3
            Recommendation of Pretrial Release on Conditions
4
            At the outset, Mr. Smirnov notes that he is an American citizen with dual-
5

6     nationality (United States and Israel); that the Government has possession of his
7
      United States passport; that the undersigned counsel provided Mr. Smirnov’s Israeli
8
      passport to the Pretrial Services Office for the District of Nevada after the detention
9

10    hearing on February 20, 2024; that he lives in Las Vegas, Nevada; that, before
11
      moving to Las Vegas, he was a long time resident of the State of California; and that
12
      he has no criminal history of any sort.
13

14          Mr. Smirnov was arrested and detained on or about February 14, 2024, in Las
15
      Vegas, Nevada. The two-count Indictment filed in the Central District of California
16
      charges Mr. Smirnov with : 1) Making False Statements to a Government Agent, in
17

18    violation of 18 U.S.C. § 1001; and 2) Falsification of Records in a Federal
19
      Investigation, in violation of 18 U.S.C. § 1519.
20
            As alleged in the Indictment, Mr. Smirnov served as a confidential human
21

22    source (“CHS”) for the FBI for several preceding years. Virtually all of the
23
      allegations recited in Count One, however, occurred in 2020 (see Ind. at 34, ¶57)
24

25
      and the alleged falsifications pertain to alleged acts taking place between 2015 and

26    2017. See id. at 34-35. Similarly, the alleged falsifications charged in Count Two
27
      pertain to alleged acts that took place in June 2020.
28
                                                3
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1            It should further be noted that the United States Sentencing Guidelines
2
      calculation for the offenses with which Mr. Smirnov is charged include a base
3

4     offense level of 14 which results in a sentencing range of 15-21 months if convicted
5     at trial. See U.S.S.G. § 2J1.2. 1
6
             On February 15, 2024, after making an initial appearance, Mr. Smirnov – for
7

8     whom English is a second (if not third) language – was interviewed without counsel
9     (at that point, the Public Defender) by Emily McKillip, Senior United States Pretrial
10
      Services Officer.
11

12           Officer McKillip thereafter prepared a Pretrial Services Report (“PTS”),2
13    recommending Mr. Smirnov’s release on the following conditions: 1) submit to
14
      supervision by and report for supervision to the U.S. Pretrial Services Offices; 2)
15

16    continue to actively seek employment; 3) surrender any passport to U.S. Pretrial
17    Services; 4) travel is restricted to the continental United States; and 5) avoid all
18

19

20

21    1
        In anticipation of the Government asserting that every conceivable guideline
22    enhancement applies, which they do not, the highest guideline level that the
      Government could seek is a level 19 which results in a sentencing range of 30-37
23    months.
24
            Moreover, in addition to the low guidelines range at issue here, neither crime
25    charged in the Indictment carries a statutory presumption in favor of detention under
26    18 U.S.C. § 3142(e)(2),(3). See Tr. at 30.
27    2
        Because it contains personal information regarding Mr. Smirnov, the PTS will be
28    cited to, but not included as an exhibit.
                                                4
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1     contact, directly or indirectly, who is or may be a victim or witness in the
2
      investigation or prosecution, including: government provide witness list. PTS at 3.
3

4     B.      Additional Relevant Background Information
5             Mr. Smirnov is 43 years old, has no prior criminal history, has been in a
6
      relationship with his significant other, Diana Lavrenyuk (“Diana”), for decades,
7

8     resides with Diana in her home in Las Vegas, has lived in Las Vegas for two years,
9     has a Nevada Driver’s License, and lived in California for the 16 years prior to
10
      moving to Las Vegas. Mr. Smirnov clearly has a stable residential history.
11

12            Mr. Smirnov also has significant ties to the United States with familial
13    relationships. Diana’s son (Nikolay Lavrenyuk, a former Marine Sergeant who has
14
      been a part of Mr. Smirnov’s life for decades) lives in Washington D.C. along with
15

16    his wife and has a good relationship with Mr. Smirnov. Additionally, Mr. Smirnov’s
17    cousin Linor Shefer resides in Florida and, like Nikolay, she flew to Las Vegas at
18
      her own expense to attend Mr. Smirnov’s detention hearing on February 20, 2024.
19

20    See Letters at Exhibits 2 and 3, attached.
21
              Mr. Smirnov suffers from significant medical issues related to his eyes that
22
           require ongoing treatment. Mr. Smirnov has had seven surgeries in the last year;
23

24         he must take prescription medication daily.
25

26

27

28
                                                   5
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1             It should be noted that Mr. Smirnov has no history of drug or alcohol abuse
2
           and has no history of mental illness. His personal history supports release on
3

4          conditions to be fashioned by this Honorable Court.
5     C.      After Briefing and a Full Detention Hearing, Magistrate Judge Albregts
6             Orders Mr. Smirnov Released On Stringent Conditions
7             From the outset, the Government has labelled Mr. Smirnov as inherently
8
      untrustworthy. See, e.g., Tr. at 6 (“[T]he defendant has demonstrated he can't be
9

10    trusted.”), 7 (alleging he “lied to his FBI handler), 10-13 (alleging defendant lied
11    about his net worth and cash in his various accounts), 14 (“So we’ve got lies, sort
12
      of, big and small in his very first instance of interacting with the Court[.]”), 14-15
13

14    (alleging that, “in his first interaction with Pretrial Services and the Court, he
15    withheld information that shows he has access to millions of dollars that he could
16
      use if he were to flee the United States”). The Government asserted that while Mr.
17

18    Smirnov lacked strong ties to the United States, see Tr. at 7-8 (“His family members
19
      live in Israel. He doesn’t own any property here. He doesn’t have a job here . . . .
20
      [T]hat doesn’t make for significant ties”), he did maintain ties with “foreign
21

22    intelligence.” See Tr. at 8 (claiming that Mr. Smirnov’s “contacts with foreign
23
      intelligence services, specifically Russian intelligence services and operatives,” was
24
      “the most extraordinary feature of this defendant”) (emphasis added).
25

26            Throughout the Government’s presentation, the unbiased Magistrate Judge
27
      periodically interjected with questions designed to determine the strength of the
28
                                                6
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1     connection between the Government’s torrent of allegations, on the one hand, and
2
      the relevant statutory bail factors, on the other. The Magistrate Judge was, to be sure,
3

4     understandably alert to the potential flight risk posed by a dual citizen who routinely
5     travelled abroad. See, e.g., Tr. at 38 (Magistrate Judge agrees that Mr. Smirnov’s
6
      foreign contacts are factors it should “notice and note” and further agrees “that that’s
7

8     a concern and certainly raised by the Government that I should consider it”).
9              But the Magistrate Judge nevertheless questioned the Government whether
10
      those foreign contacts were sufficiently pronounced to make the possibility of a
11

12    flight risk foreordained, and then preclude imposition of conditions to mitigate the
13    risk. Tr. at 38 (“I just don’t know . . . that that is as grave a concern as the
14
      Government outlines.”) (emphasis added); see also id. (expressing skepticism that
15

16    Mr. Smirnov would jump bail here and try to settle in Russia: “[M]y guess is at this
17    stage he probably thinks that’s not the most attractive place to go . . . .”).
18
               Thus, when the Government suggested that Mr. Smirnov had lied about the
19

20    value of his assets to the Pretrial Services Officer, the 3Magistrate Judge proposed a
21

22
      3
          Defense counsel stated (and the Government did not contest) the following:
23

24             Your Honor, we asked Pretrial Services about this question of
               financial disclosure because when we read their motion this
25
               morning, both Mr. Schonfeld and I said, “What happened here?”
26             So we contacted the Pretrial officer. We asked to meet with her.
               And we asked her specifically, “Did you ask him about any other
27
               account than a personal account?” And the officer was candid
28
                                                  7
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1     less sinister alternative, particularly for a non-English speaker who had just been
2
      arrested and was not, then, represented by counsel: “I mean, you’re so certain that
3

4     these are just blatant misrepresentations . . . why wouldn’t it possibly be confusion
5     when he’s just been arrested, he’s been taken into custody, and somebody shows up
6
      and starts asking him questions?” Tr. at 12; see also id. at 25-26 (defense counsel
7

8     explains – and the Government never contests – the nature of Pretrial Services’
9     questioning of Mr. Smirnov).
10
             The Magistrate Judge also questioned whether, as the Government suggested:
11

12    1) the United States would be flatly unable to find Mr. Smirnov if he did flee abroad
13    (see Tr. at 10: “You think the long arm of the United States of America couldn’t find
14
      him on this planet?), or 2) Pretrial Services would somehow be unable to monitor
15

16    him if he tried to flee. See Tr. at 23 (Magistrate asks “[w]hat if I put geographical
17    limits on where he can go and we monitor that so that the minute he leaves Clark
18
      County, Pretrial’s notified of that?” Government replies: “My understanding of the
19

20    technology is that it's not that – it is limited, that there are lags, that there are – you
21
      know, that the geographic space is not tight enough to know if someone is in an
22

23

24           and said no. It’s exactly why my client answered the question the
             way he did because he was not asked about anything else.
25

26    Tr. at 27-28 (emphasis added). Nor did Officer McKillip, who addressed the Court
      repeatedly throughout the hearing, suggest that any of these representations were
27
      inaccurate.
28
                                                  8
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1     airport as opposed to some other location.”). The Government’s “limited . . .
2
      understanding of the technology,” was indeed later shown to be just that – electronic
3

4     restrictions can, and often are, plausibly imposed as conditions of release. See Tr. at
5     41 (Officer McKillip assures the Court: “We can put an exclusion zone around the
6
      airport so if he goes into the area of the airport, we will get notified.”) (emphases
7

8     added).
9           Having considered the parties’ arguments and invoked the applicable statutory
10
      principles (primarily, the Bail Reform Act and Section 3142), the Magistrate Judge
11

12    issued a careful, balanced analysis:
13          I think it’s pretty clear to this Court that Mr. Smirnov is a flight
14          risk by a preponderance of the evidence. His dual citizenship, his
            possession of passports, his foreign ties, his extensive foreign
15          travel, and some questions about his employment and where he
16          makes his money . . . clearly rise to the level that he’s a risk of
            nonappearance by a preponderance of the evidence.
17

18          The bigger question . . . is whether or not there are conditions or
            a combination of conditions that can address those concerns.
19

20          I do have concerns about his access to money and . . . some of
            the representations made to Pretrial . . . , but I also place those in
21
            the context of . . . the language issue, the nature of the Pretrial
22          interviews and how quickly they occur, he did not have counsel
            at the time, the context in which the questions were asked. . . . I
23
            don’t know that . . . I’m convinced that he was sitting there . . .
24          intentionally lying to Pretrial to keep them from knowing about
            his finances. I just . . . don’t know that it rises to that level.
25

26          The other concern . . . is the allegations and his relationship with
            his handler . . . . I do on some level . . . recognize that how he
27
            deals with his handler and the FBI . . . would probably be
28
                                                 9
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1          different than how he would treat a Court order or a Court
2          decision, and whether or not the lack of trust he showed,
           according to the Government, with his handler would rise to the
3          level of a lack of trust that he would not follow my orders . . . .
4          I’m not convinced of that given the complex nature of that
           relationship.
5

6    Tr. at 36-37 (emphases added).
7          The Magistrate then noted that, despite its wide-ranging attacks on Mr.
8
     Smirnov, the substance of those attacks did not preclude the type of release
9

10   contemplated by the Bail Reform Act – particularly where the independent Pretrial
11   Services Office was itself recommending release on conditions.
12
           The Government has argued the nature and circumstances of the
13         offense. They put about a quarter of their 28-page brief to discuss
14         the nature and circumstances and the weight of the evidence. And
           . . . those are the least important factors . . . . And they argue that
15         his ties to the community are weak, and they’ve argued that both
16         in their pleading and here today such that there are no condition
           or combination of conditions that would address that . . . . [I]
17         understand the concern about foreign intelligence agencies
18         potentially resettling Mr. Smirnov outside of the United States,
           his connections to them, but I think on some level that's
19
           speculative as well . . . .
20
           [T]his Court . . . puts a lot of stock into Pretrial Services and their
21
           investigation and their recommendations and their belief about
22         whether or not they believe somebody can be supervised with
           conditions. And in this case Pretrial Services believes,
23
           notwithstanding some of the issues that the Government’s raised,
24         and they acknowledge those issues, they believe that Mr.
           Smirnov can be supervised and that there are conditions that can
25
           be placed upon him . . . . And so that carries weight with the
26         Court as well . . . . [I]t’s not just [defense counsel] saying his
           client should be released, but Pretrial Services believes that
27
           conditions can be fashioned.
28
                                                10
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1

2    Tr. at 37-40 (emphases added).

3          The Magistrate Judge then fashioned the stringent conditions for Mr.
4
     Smirnov’s release.
5

6          I’m finding today that the Government has not met their burden
           as it relates to conditions because I believe that conditions can be
7          fashioned because Pretrial believes that . . . .
8
           I’m going to release you on your personal recognizance, which
9          is just your signature and promise to appear in court and to follow
10         these conditions. If you do not, that will be revoked and you will
           be detained . . . .
11

12         I’m going to go through [the conditions] somewhat quickly. If
           you don’t understand everything, you will have time to talk to
13         [defense counsel] and make sure you understand.
14
           First, you’re to submit to supervision by Pretrial Services . . .
15         immediately . . . and follow their direction for supervision.
16
           I’m going to allow them to order you to seek employment . . . .
17         [Y]ou’re not going to be able to continue with your consulting
18         business while this case is pending. You’re going to have to
           figure out some other way to conduct business because I’m not
19
           going to allow foreign travel. In fact, I'm not going to allow any
20         travel. So you need to seek employment that Pretrial approves
           and that's appropriate while this case is pending.
21

22         You’re to surrender your U.S. passport and your Israeli passport
           to Pretrial Services immediately. I believe that the Government
23
           took your United States passport. [Defense counsel]. . . shall give
24         [the Israeli passport] to Ms. McKillip upon the conclusion of this
           hearing.
25

26         Number four, you shall not obtain a passport or any other
           international travel documents.
27

28
                                               11
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1          Number five, I’m going to order you that your travel is restricted
2          to Clark County, Nevada . . . . I’m going to allow the travel in
           Clark County alone and exclude you from the airport. So if you
3          are in the zone of the airport, . . . they will be notified immediately
4          . . . . So you are not allowed to go to that airport.

5    Tr. at 40-42.
6
            Despite the stringency of these conditions, Mr. Smirnov – after being released
7

8    and spending a single day out of from custody – was rearrested at his lawyer’s office
9    while preparing his defense. He was ordered detained and transported to California
10
     See Exhibit 4 (attached).
11

12   D.    Statement of the Law: De Novo Review Does Not Justify Prejudging a
           Detention Issue
13

14         While this Court reviews the Magistrate Judge’s release order under a de novo
15   standard, see, e.g., United States v. Koenig, 912 F.2d 1190, 1192-93 (9th Cir. 1990),
16
     that non-deferential standard does not justify what is happening here: that is, pre-
17

18   judging of a detention issue.
19
           Thus, in ordering Mr. Smirnov summarily rearrested, detained, and brought
20
     to California, this Court stated flatly that – in doing their jobs and representing their
21

22   client – defense counsel was “likely to facilitate his absconding from the United
23
     States.” Order Setting Hearing on Gov’t Mot. for Review of Release Order (Feb. 22,
24
     2024) at 1 (emphasis added) (attached as Exhibit 4). The suggestion that defense
25

26   counsel is participating in an unlawful plot by advocating for release under Section
27
     3142 is wrong.      The Court’s Order stating that it had already granted the
28
                                                12
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1    Government’s Application, without having heard from the Defendant, further
2
     revealed that this Court has already decided to detain Mr. Smirnov at the February
3

4    26 hearing.
5          Nevertheless, in a case where the detention issue had not been prejudged, the
6
     starting point would be United States v. Salerno, 481 U.S. 739, 107 S. Ct. 2095
7

8    (1987). There, the Supreme Court stated that, in the United States, liberty is the
9    norm, and detention is the carefully limited exception. The Court found that the Bail
10
     Reform Act of 1984 operates only on individuals who have been arrested for
11

12   particularly serious offenses, and carefully delineates the narrow circumstances
13   under which detention is permitted.
14
           The Bail Reform Act of 1984 does allow a court to detain a defendant if no
15

16   release conditions “will reasonably assure the appearance of the person and the
17   safety of any other person in the community.” But it is only under those rare
18
     circumstances where no condition or combination of conditions will reasonably
19

20   assure the appearance of the person as required and the safety of any other person in
21
     the community, that a court may reasonably (not to mention, constitutionally) order
22
     the pretrial detention of a never-convicted, presumptively innocent defendant like
23

24   Mr. Smirnov.
25
           These principles were reinforced in United States v. Gebro, 948 F.2d 1118
26
     (9th Cir. 1991), where the Ninth Circuit stated that the Bail Reform Act required
27

28
                                              13
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1    release of persons under the least restrictive condition or combination of conditions
2
     that will reasonably assure appearance of the person and the safety of community.
3

4    See Gebro, 948 F.2d at 1121. “Only in rare circumstances should release be denied,
5    and doubts regarding the propriety of release should be resolved in the defendant's
6
     favor.” Id. (citing United States v. Motamedi, 767 F.2d 1403, 1405 (9th Cir. 1985)).
7

8    Finally, “[o]n a motion for pretrial detention, the government bears the burden of
9    showing [1] by a preponderance of the evidence that the defendant poses a flight
10
     risk, and [2] by clear and convincing evidence that the defendant poses a danger to
11

12   the community.” Gebro, 948 F.2d at 1121.4
13         Citing 18 U.S.C. § 3142(g), the Motamedi Court stated: “The court must take
14
     into account available information concerning the nature and circumstances of the
15

16   offense charged, the weight of the evidence against the person, the history and
17   characteristics of the person, including his character, physical and mental condition,
18
     family ties, employment, financial resources, length of residence in the community,
19

20   community ties, past conduct, history relating to drug and alcohol abuse, criminal
21
     history, record concerning appearance at court proceedings, and the nature and
22

23

24
     4
      The parties and Magistrate Judge agreed that the principal detention issue in this
25   case concerns the risk of non-appearance, not the danger to the community. See Tr.
26   at 35 (“I'll take the . . . the danger prong, which requires the Government to provide
     evidence of clear and convincing evidence that he's a danger to the community.
27   That’s not what they’ve asked or argued, and that's not what any of the parties have
28   raised.”).
                                              14
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1    seriousness of the danger to any person or the community that would be posed by
2
     the person's release.” Motamedi, 767 F.2d at 1407.
3

4          As shown below, these factors – coupled with the Pretrial Service Office’s
5    recommendation of pretrial release for Mr. Smirnov – militate overwhelmingly in
6
     favor of release in this case. Pointedly, when he was arrested for a second time, Mr.
7

8    Smirnov was already free and working on his defense in his lawyers’ office. This is
9    hardly what would be expected of a person preparing to jump bail and flee the
10
     country; to the contrary, had he not been rearrested, Mr. Smirnov would have
11

12   voluntarily traveled to Los Angeles with his lawyers to attend the upcoming hearing.
13   E.    The Motamedi Factors Militate Overwhelmingly In Favor Of Release:
14
           Nature and seriousness of the offense charged.
15

16         As stated above, Mr. Smirnov is charged under 18 U.S.C. § 1001 and 18
17   U.S.C. § 1519, both of which accuse him of making false statements in connection
18
     the current president’s (and, particularly, the current president’s son’s) connection
19

20   to a business deal with a company based in Ukraine. These allegations are
21
     makeweight and related to political issues; they do not involve espionage or theft
22
     and are thus not “serious,” especially as to the penalty.
23

24         Weight of evidence against defendant.
25
           The Ninth Circuit has held that the “weight of the evidence” is the least
26
     important factor to be considered during the pretrial detention hearing. See, e.g.,
27

28
                                               15
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1    Motamedi, 767 F.2d at 1408. This guards against the possibility of making a
2
     “preliminary determination of guilt” that then leads to punishment in the form of a
3

4    refusal to grant release. Id. “The [ ] factor may be considered only in terms of the
5    likelihood that the person will fail to appear or will pose a danger to any person or
6
     to the community.” Id.; see also United States. v. Armstrong, 2010 WL 5102203 (D.
7

8    Ariz. 2010) (granting pretrial release to defendant charged with two separate armed
9    bank robberies while recognizing that the evidence against the defendant was strong
10
     because bank surveillance photos show her committing the robberies and because
11

12   she admitted her participation.).
13           While it is not clear what the government’s evidence consists of at this
14
     preliminary stage, Mr. Smirnov vigorously disagrees with the Government’s
15

16   recitation of the facts. That aside, when the “evidence factor” is considered in
17   conjunction with the other factors outlined here, the balance weighs in favor of
18
     release.
19

20           Defendant’s character, physical and mental condition.
21
             Mr. Smirnov has an exemplary character and is in good mental health. Mr.
22
     Smirnov has ongoing medical issues related to his eyes and will need continuing
23

24   care.
25

26

27

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                                              16
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1    Defendant’s family and community ties.
2
           Mr. Smirnov has lived in Las Vegas for two years, lived in California for the
3

4    sixteen years prior to moving to Las Vegas, has relatives that live in the United
5    States, and has his long term significant other that he resides with in Las Vegas. He
6
     thus has strong ties to the community and has the strong support of family and
7

8    friends.
9          Defendant’s past conduct, history relating to drug and alcohol abuse,
10
     criminal history.
11

12         Mr. Smirnov has no criminal history and there is no indication of any drug or
13   alcohol abuse whatsoever.
14
           The nature and seriousness of danger to any person or community that
15

16   would be posed by defendant’s release.
17         Mr. Smirnov is 43 years old and has no criminal history. Any concern that
18
     Mr. Smirnov is a danger while on release can be adequately addressed through the
19

20   imposition of certain conditions including electronic monitoring, maintaining his
21
     residence, travel restrictions, and any other condition the Court deems necessary.
22
           Additional, Critical Factors Unique to This Case.
23

24         In the days leading up to his detention hearing on February 20, 2024 in
25
     Nevada, Mr. Smirnov was detained by the U.S. Marshals. It took the undersigned
26
     counsel several hours on February 16 (not to mention many phone calls), to secure
27

28
                                              17
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1    even a brief phone call with Mr. Smirnov – at which the matter of legal
2
     representation, and nothing else, was discussed.
3

4          Moreover – and particularly relevant to the issue of pretrial release – a
5    representative from the facility where Mr. Smirnov is being held advised counsel: 1)
6
     that Mr. Smirnov is in protective custody; and 2) that, given this restrictive
7

8    classification, the entire facility needed to be “frozen” just so Mr. Smirnov could
9    take this brief, non-substantive phone call. It is not anticipated that the confinement
10
     conditions will be drastically different in Los Angeles.
11

12         Given the foregoing – and coupled with the volume of records that the
13   government will doubtless produce and the overriding need for in-person trial
14
     preparation with the client – it will be virtually impossible to mount an effective trial
15

16   defense through intermittent telephone calls and truncated, sparse jail visits.
17         The federal courts warn that pretrial detention can hamstring trial preparation:
18
           The Supreme Court has recognized that “to deprive a person of
19
           counsel during the period prior to trial may be more damaging than
20         denial of counsel during trial itself.” Maine v. Molton, 474 U.S. 159,
           170, 106 S. Ct. 477 (1985); see also Wolfish v. Levi, 573 F.2d 118,
21
           133 (2d Cir.1978) (“[O]ne of the most serious deprivations suffered
22         by a pretrial detainee is the curtailment of his ability to assist in his
           own defense.”), rev’d on other grounds, Bell v. Wolfish, 441 U.S.
23
           520, 99 S. Ct. 1861 (1979).
24
     Estrada v. Munoz, No. 2010 WL 1999525, at *2 (C.D. Cal. May 17, 2010).
25

26         Moreover, with Mr. Smirnov in custody he will not be able to facilitate his
27
     counsel’s contact with critical witnesses, and assist counsel with language barriers
28
                                                18
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1    that are sure to exist. In Kinney v. Lenon, 425 F.2d 209 (9th Cir. 1970), the Ninth
2
     Circuit found the detention of a juvenile to interfere with his due process right to a
3

4    fair trial, as the Defendant was likely the only person that witnesses would cooperate
5    with due to “age and race.” Here, with the cultural and language barriers, it is
6
     anticipated that Mr. Smirnov will be the only person that can effectively contact and
7

8    facilitate interviews of critical witnesses for his defense.
9          Keeping Mr. Smirnov in custody will thus work an irreparable harm to his
10
     ability – indeed, right – to prepare effectively for trial.
11

12   F.    Mr. Smirnov is Neither a Flight Risk Nor a Danger to the Community
13         Federal courts embrace the “strong presumption against detention.” See, e.g.,
14
     United States v. Hanson, 613 F. Supp. 2d 85, 87 (D.D.C. 2009); United States v.
15

16   Karni, 298 F. Supp. 2d 129 (D.D.C. 2004). And, along these lines, we refer this
17   Court to Letters attached at Exhibits 2 and 3 for a personal explanation as to why
18
     Mr. Smirnov will not flee.
19

20         In both Hanson and Karni, the courts held that conditions for release could be
21
     fashioned to ensure the appearance of defendants who – unlike the Mr. Smirnov –
22
     did not have significant ties to the United States and who did pose a serious danger
23

24   to the United States. There, the defendant was an Israeli national who had been
25
     residing in South Africa for the last eighteen years. He was charged with violating
26
     federal law by allegedly acquiring “products that are capable of triggering nuclear
27

28
                                                 19
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1    weapons and [exporting] them to Pakistan, via South Africa, avoiding the
2
     requirement of obtaining an export license for the devices.” Karni, 298 F. Supp. 2d
3

4    at 130. Despite the serious nature of his crime and the fact that he “had no ties to the
5    United States or to the Washington, D.C. area,” the court determined that the
6
     defendant should be released subject to certain conditions including release into third
7

8    party custody, home detention, and electronic monitoring.
9          In Hanson, the defendant was a Chinese citizen who had become a naturalized
10
     citizen of the United States. She was alleged to have illegally exported unmanned
11

12   aerial vehicle (“UAV”) autopilot components to the People's Republic of China.
13   According to the government, Mrs. Hanson carried these UAV components to
14
     Germany and handed them to an acquaintance who took them to China. The
15

16   government represented that these sophisticated components enable UAVs to
17   perform certain tasks without the aid of human pilots, including autonomous take
18
     offs, bungee launches, and hand launches and landings, and that they have other
19

20   tactical military uses. Moreover, according to the government's expert, UAVs
21
     equipped with these components could be used to simulate stealth planes and cruise
22
     missiles to test air defense detection systems, and potentially could be armed. The
23

24   government argued that she was a flight risk because 1) she had closer ties to China
25
     than to the United States; 2) her marital relationship in the United States was
26
     faltering, and she had no other family ties here; 3) she faced a steep jail sentence and
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1    the government had strong evidence against her; 4) it would have been easy for her
2
     to get a new Chinese passport and depart to China; 5) and she had strong business
3

4    interests, family ties, and property in China. After hearing the evidence, the court –
5    like the Magistrate Judge in this case -- found that conditions could be fashioned that
6
     would reasonably assure the defendant’s presence.
7

8          These cases (and countless others like them) illustrate the type of conditions
9    that can easily be fashioned to ensure that Mr. Smirnov attends all Court hearings.
10
           Again, it should also be noted that Mr. Smirnov is dual-citizen who is lawfully
11

12   in the United States. His dual citizenship should not be a concern for this Honorable
13   Court, and both Pretrial Services and the Magistrate Judge in Nevada have
14
     recognized that conditions can be fashioned regarding the factor of alleged flight.
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1    G.    Conclusion
2
           Despite this Court having already decided to arrest Mr. Smirnov, we are
3

4    optimistic that it will apply the law of the Ninth Circuit and direct Mr. Smirnov’s
5    release, consistent with Pretrial Services’ and Magistrate Judge Albregts’ prior
6
     recommendations.
7

8          DATED this 23rd day of February, 2024.
9
                                            Respectfully Submitted:
10

11                                          CHESNOFF & SCHONFELD
12
                                               /s/      Richard A. Schonfeld
13
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1                             CERTIFICATE OF SERVICE
2
           I hereby certify that on this 23rd day of February, 2024, I caused the forgoing
3

4    document to be filed electronically with the Clerk of the Court through the CM/ECF
5
     system for filing; and served on counsel of record via the Court's CM/ECF system.
6

7

8
                                     _________/s/ Rosemary Reyes____
9                                    Employee of Chesnoff & Schonfeld
10

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